                                  IN THE UNITED STATES DISTRICT COURT
      Case 3:16-cr-00446-M FOR
                             Document 243 Filed
                               THE NORTHERN     10/18/17
                                            DISTRICT       Page 1 of 1
                                                     OF TEXAS                                      PageID 565
                                                DALLAS DIVISION

UNITED STATES OF AMERICA                                  )
                                                          )
VS.                                                       )                        CASE NO.: 3:16-CR-446-M (10)
                                                          )
MARIA VICTORIA AGUILAR,                                   )
           Defendant.                                     )

                 ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
              UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States
Magistrate Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28
U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the
Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the
Court accepts the plea of guilty, and MARIA VICTORIA AGUILAR is hereby adjudged guilty of Count 1 of the
Indictment, that is, Conspiracy to Distribute a Controlled Substance, a violation of 21 U.S.C. § 846. Sentence
will be imposed in accordance with the Court's scheduling order.

9        The defendant is ordered to remain in custody.

:        The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence
         that the defendant is not likely to flee or pose a danger to any other person or the community if
         released and should therefore be released under § 3142(b) or (c).

G        Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the
         conditions of release for determination, by clear and convincing evidence, of whether the defendant is likely
         to flee or pose a danger to any other person or the community if released under § 3142(b) or (c).

G        The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender
         to the United States Marshal no later than ____________________.

G        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
         G      There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
         G      The Government has recommended that no sentence of imprisonment be imposed, and
         G      This matter shall be set for hearing before the United States Magistrate Judge who set the conditions
                of release for determination, by clear and convincing evidence, of whether the defendant is likely
                to flee or pose a danger to any other person or the community if released under § 3142(b) or (c) .

G        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed
         a motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained
         under § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge who set
         the conditions of release for determination of whether it has been clearly shown that there are exceptional
         circumstances under § 3145(c) why the defendant should not be detained under § 3143(a)(2), and whether
         it has been shown by clear and convincing evidence that the defendant is likely to flee or pose a danger to
         any other person or the community if released under § 3142(b) or (c).

         SIGNED this 18th day of October, 2017.



                                              _________________________________
                                              BARBARA M. G. LYNN
                                              CHIEF JUDGE
